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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    ELISABETH CLEVELAND, AMY                     CASE NO. 20-cv-1906-WMW-KMM
    LARCHUK, CHRISTOPHER
    REDMON, DHAVAL SHAH, and
    THOMAS MCCORMICK,
    on behalf of themselves and all others
    similarly situated,

           Plaintiffs,

    v.

    WHIRLPOOL CORPORATION,

           Defendant.


         MEMORANDUM OF LAW IN SUPPORT OF UNOPPOSED MOTION FOR
           PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

           Plaintiffs Elisabeth Cleveland, Amy Larchuk, Christopher Redmon, Dhaval Shah

and Thomas McCormick (collectively “Plaintiffs”) respectfully move, pursuant to Rule 23

of the Federal Rules of Civil Procedure, for preliminary approval of a proposed Settlement

with Whirlpool Corporation (“Whirlpool”), preliminary certification of the Settlement

Class defined in the Settlement Agreement, and approval of the proposed notice to the

Settlement Class. 1 This Settlement, reached after substantial expert investigation, active

litigation, confirmatory discovery, and lengthy and hard-fought negotiations in this case



1
  The Settlement Agreement and its Exhibits are attached hereto as Exhibit 1. Capitalized
terms not defined herein shall have the same definitions and meanings ascribed to them in
the Settlement Agreement.

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and three (3) other associated cases, will resolve all of Plaintiffs’ and Settlement Class

Members’ claims against Whirlpool in the above-captioned action and the related

litigation.2

    I.      INTRODUCTION

         Plaintiffs, individually and on behalf of all others similarly situated, and Defendant

Whirlpool Corporation (“Whirlpool” or “Defendant”) have entered into a Class Action

Settlement Agreement (the “Settlement,” “Agreement,” or “Settlement Agreement”),

attached hereto as Exhibit 1, to resolve Plaintiffs’ claims that certain Dishwashers,

identified and defined in the Settlement Agreement, have an alleged defect which may

cause the Dishwashers to leak. Whirlpool has provided documentation that it distributed

more than 6,700,000 of the Dishwashers into the United States consumer marketplace.

         For its part, Whirlpool maintains that it produces quality consumer products,

including the Dishwashers. Whirlpool further asserts that the Dishwashers are not

defective, uniformly or otherwise. Accordingly, Whirlpool denies Plaintiffs’ allegations in

this litigation.

         Notwithstanding the Parties’ disagreement regarding the substantive allegations,

they have been able to reach an agreement to resolve the litigation. Accordingly, Plaintiffs


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 As discussed below, similar putative class actions were filed by the undersigned proposed
Class Counsel against Whirlpool in the United States District Courts for the Northern
District of Illinois, Eastern District of Pennsylvania, and Northern District of California.
For purposes of settlement, proposed Class Counsel filed a Consolidated Amended
Complaint (“CAC”) in the present action (Doc. No. 63) to include the Plaintiffs in those
cases in this action, effectively consolidating the cases for the purpose of settlement.
Pursuant to the request for relief in this Motion, litigation of the Consolidated Amended
Complaint is stayed pending the process to approve the Settlement.
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respectfully submit this Memorandum of Law in support of the unopposed motion for entry

of an order that will: (1) grant Preliminary Approval to the Settlement; (2) certify for

settlement purposes the proposed Settlement Class, pursuant to Rule 23(a) and 23(b)(3) of

the Federal Rules of Civil Procedure; (3) appoint Plaintiffs Cleveland, Larchuk, Redmon,

Shah and McCormick as Class Representatives; (4) approve the Notice Plan set forth in the

Agreement, including the form and content of the Notices; (5) approve and order the opt-

out aend objection procedures set forth in the Agreement; (6) stay all deadlines in this

litigation pending Final Approval of the Settlement; (7) appoint as Class Counsel the

attorneys and their law firm identified herein; and (8) schedule a Final Approval Hearing.

       The Court should grant Preliminary Approval because the Settlement provides

substantial relief for the Settlement Class, including multiple options for relief; the terms

of the Settlement are well within the range of reasonableness; and the terms of the

Settlement are consistent with applicable case law. Given the significant risks inherent in

this litigation, the Settlement is an outstanding result for the Settlement Class. The

Settlement satisfies all Eighth Circuit criteria for settlement approval, as it is fair,

reasonable, adequate, and in the best interests of the Settlement Class Members. It provides

substantial and immediate benefits to Settlement Class Members, which, although

uncapped, are collectively valued by proposed Class Counsel at approximately $15.71 to

$21.33 million. See Exhibit 2, Expert Report from Frank Bernatowicz.

       As described in further detail below, these extended service plan benefits include

the ability to make claims for seven years beyond the one-year warranty accompanying the

purchase of a Dishwasher for either past or future diverter seal leaks, including

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reimbursement for Paid Qualifying Repairs or Paid Qualifying Replacements of the

Dishwashers3. Although not included in the estimated value of the settlement, the

Settlement also provides the Settlement Class with the ability to elect a cash rebate of up

to $200.00 towards other Whirlpool manufactured dishwashers, instead of reimbursement

of out-of-pocket expenses.

       In addition, Whirlpool shall pay all Notice and Administration Costs directly to the

Settlement Administrator as such costs and expenses are invoiced, and Whirlpool shall pay

the Attorney Fee and Expense Award and all Service Payments to the Class

Representatives.

       This Settlement is the product of hard-fought litigation and arm’s-length

negotiations, which included: (1) the retention of knowledgeable and qualified experts who

performed critical analyses regarding the alleged defect and damages at various stages of

litigation, and who also assisted with discovery; (2) adjudication of Whirlpool’s motion to

dismiss in the present action, and also in associated litigation in the United States District

Court for the Northern District of Illinois; (3) briefing Whirlpool’s motion to dismiss in

associated litigation in the United States District Court for the Eastern District of

Pennsylvania; (4) negotiating a protective order, order governing electronically stored

information, and other case management orders involving coordination of litigation and

schedules across all cases; (5) attending regular case management conferences with


3
 Each Dishwasher is sold with a one-year warranty. This settlement includes an extended
service benefits plan that allows class members to make claims for past and future diverter
shaft leaks that occur within eight years after the date of manufacture, which is seven years
beyond the original Dishwasher warranty.
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Magistrate Judge Menendez in this litigation and judges in the Northern District of Illinois,

Northern District of California and Eastern District of Pennsylvania; (6) significant fact

discovery, which aided the resolution of this action, and included serving and responding

to interrogatories, requests for production, and third-party retailer discovery; (7) two-full

day mediation sessions (on April 27, 2021 and April 29, 2021), and subsequent months of

arm’s-length negotiations between experienced class-action counsel for both Whirlpool

and Plaintiffs, all led by a mediator with substantial experience in class action litigation.

       In evaluating the terms of the Settlement, counsel for the Plaintiffs and the putative

Settlement Class have concluded that the Settlement is in the best interest of Settlement

Class Members due to: (1) the substantial relief afforded to the Settlement Class Members;

(2) the risks and uncertainties of this complex litigation; (3) the expense and length of time

necessary to prosecute this action through class certification, trial, and any subsequent

appeals; and (4) the desirability of consummating the Settlement to provide prompt and

effective relief to the Settlement Class Members. Considering these factors, as discussed

below, Plaintiffs and Plaintiffs’ counsel believe that the fair and reasonable Settlement

merits preliminary approval.

       The benefits of this proposed nationwide Settlement must be considered in the

context of the risk that protracted litigation in four (4) separate districts, as this litigation

was originally situated, might lead to no recovery, or to a smaller recovery for Plaintiffs

and/or proposed Settlement Class Members. Further, Whirlpool has vehemently denied any

liability and mounted a vigorous defense at every stage of this litigation, and Plaintiffs



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expect that Whirlpool would have continued to do so through class certification, a trial on

the merits in each separate action, and even proceeding to appeal.

   II.      FACTUAL AND PROCEDURAL BACKGROUND

            A. Summary of Allegations in the Consolidated Amended Complaint

         On August 20, 2021, with Whirlpool’s consent, Plaintiffs Cleveland, Larchuk,

Redmon, Shah and McCormick filed a Consolidated Amended Complaint in this litigation

for the purpose of settlement. (Minnesota Action, ECF No. 63) (“CAC”). The CAC

involves the same alleged defect as was alleged in the complaints filed in the Northern

District of Illinois, Eastern District of Pennsylvania, and Northern District of California,

discussed below, and each included multiple claims made on behalf of consumers in the

states in which the complaints were filed.

         As alleged in the CAC, in addition to a bevy of other home appliances, Whirlpool

has designed and manufactured dishwashers for decades. CAC at ¶2. From 2010-2020,

Whirlpool designed and manufactured the Dishwashers in a substantially similar manner,

which were sold under the various brand names and models identified in the Settlement

Agreement. Id. The Dishwashers were and are marketed as “high-quality” products, with

base retail prices ranging from $500-$700. Id. at ¶4.

         As alleged by Plaintiffs, based on industry standards, the average service life of a

dishwasher is typically seven to twelve years (or 9.5 years on average), and Whirlpool

boasted in at least one article that the expected lifespan of its dishwashers is ten years. Id.

at ¶5. However, as alleged in the CAC, Whirlpool designed, manufactured, distributed,



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marketed, and sold the Dishwashers with a uniform defect that can and has caused the

Dishwashers to leak prior to expiration of their expected life span. Id. at ¶6.

       The Dishwashers were and are equipped with a pump motor diverter shaft seal

(“Diverter Shaft Seal”). Id. at ¶6. A Diverter Shaft Seal is part of a dishwasher’s sump

assembly, which is located at the bottom of the dishwasher’s tub and is responsible for

collecting and distributing the water throughout the dishwasher during cleaning. Id. at ¶8.

The sump collects and holds water below the dishwasher tub and the diverter shaft directs

the collected water into the spray arms, while the Diverter Shaft Seal prevents leaks

between the sump and the tub. Id. In other words, the Diverter Shaft Seal’s main purpose

is to prevent the dishwasher from leaking and causing damage to consumers’ homes. Id.

       However, as alleged, the Diverter Shaft Seal in the Dishwashers is uniformly

defective in its design and/or manufacture in that it is incorrectly oriented, accelerating

degradation of the seal and creating a buildup of debris that prevents the shaft seal spring

from properly sealing the diverter shaft and sump (“Diverter Shaft Seal Defect” or

“Defect”). Id. at ¶7. As a result of the uniform Diverter Shaft Seal Defect, Plaintiffs and

Class Members’ Dishwashers can and have experienced significant leakage through the

Diverter Shaft Seal, flowing out of the dishwasher to areas below and surrounding the

dishwasher, and exposing consumers to unexpected water leaks. Id.

       Whirlpool’s Major Appliance Limited Warranty (“Warranty”) states that within one

year of the purchase date, Whirlpool “will pay for Factory Specified Replacement Parts

and repair labor to correct defects in materials or workmanship that existed when this major

appliance was purchased, or at its sole discretion replace the product.” Id. at ¶14. Thus,

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while the Defect existed at the time of manufacture, prior to this litigation and settlement,

any Class Dishwashers with the Diverter Shaft Seal Defect that experienced a leak

following this one-year period would not be covered under Whirlpool’s one year Warranty.

For Class Members whose Dishwashers experience the Defect, which is not covered under

the Warranty, the cost associated with labor and replacing the defective Diverter Shaft Seal

is approximately $200.00 or more. Id. at ¶16.

       As discussed herein, through the Settlement Agreement, Class Members with paid

qualifying repairs or replacements of the Diverter Shaft Seal Defect are receiving an

extended service plan benefits that allows them to receive up to $225.00 for a diverter seal

leak that occurs within eight years of manufacture of their Class Dishwasher, which is

seven (7) years longer than the factory warranty accompanying the purchase of the

Dishwashers.

          B. Relevant Procedural Background

       On September 4, 2020, Plaintiff Cleveland filed her class action Complaint alleging

that Whirlpool designed, manufactured, distributed, marketed, and sold the Dishwashers

with the uniform Diverter Shaft Seal Defect, described supra, that can and has caused the

Dishwashers to leak. Related actions were filed by the undersigned proposed Class Counsel

on September 10, 2020, in the United States District Court for the Eastern District of

Pennsylvania (Larchuk v. Whirlpool Corp., No. 2:20-cv-04442-BMS (E.D. Pa.))

(“Pennsylvania Action); on November 6, 2020, in the United States District Court for the

Northern District of Illinois (Redmon v. Whirlpool Corp., No. 1:20-cv-06626 (N.D. Ill.)

(“Illinois Action)); and on April 16, 2021, in the United States District Court for the

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Northern District of California (Shah v. Whirlpool Corp., No. 3:21-cv-02739 (N.D. Cal))

(“California Action”).

      For effective and efficient coordination and scheduling, the Parties entered into a

stipulated Joint Case Management Plan. The Parties spent considerable time developing

the Joint Case Management Plan to be applied across all four (4) coordinated actions.

Settlement Class Counsel and Whirlpool’s Counsel engaged in numerous meet and confer

discussions, both via telephone and in writing, regarding the Joint Case Management Plan

to be proposed in each of the actions. The Joint Case Management Plan provided each of

the Courts with, inter alia, the agreed upon (1) coordinated schedules, (2) number of

discovery requests permitted by each side; (3) number of depositions that could be taken,

(4) deposition protocols, (5) methodology for coordinating and designating discovery

across all coordinated actions, and (6) methodology for seeking resolution of discovery

disputes. On April 23, 2021, the Joint Case Management Plan was submitted to the Court

(Minnesota Action, ECF. No. 44), and on April 29, 2021, this Court granted the parties

Joint Discovery Plan. (Minnesota Action, ECF No. 46). Likewise, the Joint Case

Management Plan was submitted in the Illinois and Pennsylvania Actions, and

subsequently adopted by those courts.

      On October 29, 2020, Whirlpool filed a motion to dismiss in this action (Minnesota

Action, ECF Nos. 16 and 18), and Plaintiff Cleveland filed an Amended Complaint on

November 25, 2020 (Minnesota Action, ECF No. 25). On December 15, 2020, Whirlpool

renewed its motion to dismiss in the Minnesota Action, seeking to dismiss Plaintiff

Cleveland’s claims in their entirety and with prejudice for failure to state a claim upon

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which relief can be granted. (Minnesota Action, ECF Nos. 27 and 29). On January 15,

2021, Plaintiff Cleveland filed her response in opposition to Whirlpool’s motion to dismiss

(Minnesota Action, ECF No. 32) and Whirlpool filed its reply in support of its motion to

dismiss on February 1, 2021 (Minnesota Action, ECF No. 35). On February 26, 2021, this

Court heard oral argument from both parties on Whirlpool’s motion to dismiss. On July

27, 2021, this Court entered an Order Granting in Part and Denying in Part Defendant’s

Motion to dismiss, granting without prejudice Whirlpool’s motion to dismiss Plaintiff

Cleveland’s claims for Breach of Contract and Unjust Enrichment, and denying the motion

to dismiss for Plaintiff Cleveland’s claims alleging breach of express and implied warranty,

violations of the Minnesota Consumer Fraud Act (MCFA), the Minnesota Uniform

Deceptive Trade Practices Act (MDTPA), and the Minnesota Unlawful Trade Practices

Act (MUTPA). In the Minnesota Action, the Parties also attended several status

conferences with Magistrate Judge Menendez by telephone, including for the discussion of

the submitted Joint Case Management Plan.

       Whirlpool also filed a motion to dismiss in the Illinois Action on February 3, 2021,

seeking to dismiss Plaintiff Redmon’s claims in their entirety. (Illinois Action, ECF No.

11 and 12). Plaintiff Redmond responded to the motion to dismiss on March 10, 2021

(Illinois ECF No. 22), and Whirlpool filed its reply on March 6, 2021 (Illinois Action, ECF

No. 24). On April 28, 2021, the court granted in part and denied in part Whirlpool’s motion

to dismiss, granting Whirlpool’s motion to dismiss without prejudice as to Plaintiff

Redmon’s express warranty claim beyond the actual written product warranty, breach of

implied warranty and fraudulent concealment, and with prejudice as to Plaintiff Redmon’s

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claims for negligence and injunctive relief. The court denied the motion to dismiss Plaintiff

Redmon’s claim for breach of the express warranty as to the product warranty, and for the

Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1 et seq.,

unjust enrichment, and breach of contract. (Illinois Action, ECF No. 31). The Parties also

attended multiple status conferences with the Illinois court by telephone, including for the

discussion of discovery, case scheduling, and coordination of the litigation among all the

courts, including the submitted Joint Case Management Plan. Plaintiff Redmon voluntarily

dismissed his action on August 20, 2021, as a result of the settlement. (Illinois Action, ECF

No. 48).

       Whirlpool also filed a motion to dismiss in the Pennsylvania Action on January 7,

2021 (Pennsylvania Action, ECF No. 20). Plaintiff Larchuk responded in opposition on

February 8, 2021 (Pennsylvania Action, ECF No. 21), and Whirlpool filed its reply in

support of its motion to dismiss on February 22, 2021 (Pennsylvania Action, ECF No. 22).

Plaintiff Larchuk voluntarily dismissed her action on August 23, 2021, as a result of the

settlement. (Pennsylvania Action, ECF No. 32). The Parties also submitted the Joint Case

Management Plan utilized in this action.

       Whirlpool also filed a motion to dismiss in the California Action on June 28, 2021.

(California Action, ECF No. 21). The Parties subsequently appeared via Zoom for a Case

Management Conference to discuss coordination of the case and other preliminary matters.

After the court expressed concern over the number of actions filed, Plaintiff Shah dismissed

the California Action without prejudice on July 29, 2021 (California Action, ECF No. 29)

prior to filing a response to Whirlpool’s motion to dismiss, so the Parties could incorporate

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Plaintiff Shah’s claims into one of the other pending cases. Plaintiff Shah’s claims were

ultimately incorporated into the CAC in the Minnesota Action (Minnesota Action, ECF

No. 63).

       In addition to aforementioned litigation, the Parties engaged in significant

discovery. Specifically, the Parties served and responded to written discovery requests, and

Whirlpool produced voluminous data and documents, which ultimately aided the parties in

resolving this action. Plaintiffs also served eleven third-party subpoenas to retailers of the

Dishwashers, as well as serving both a subpoena for documents and subpoena for the Fed.

R. Civ. P. 30(b)(6) deposition of the manufacturer of the Diverter Shaft Seal. As indicated

supra, Plaintiffs engaged their experts during the various discovery stages in order to

ensure discovery was thorough and would aid them in producing substantive expert reports.

       As described more fully, infra, the Parties began preliminary settlement discussions

in March of 2021. To aid in settlement discussions prior to mediation, the Parties requested

and exchanged discovery pursuant to Rule 408 of the Federal Rules of Evidence.

       As discussed supra, on August 20, 2021, Plaintiffs filed their Consolidated

Amended Complaint (for the purposes of settlement). (Minnesota Action, ECF No. 63). If

the Parties had not negotiated this Settlement, Whirlpool undoubtedly would have

contested class certification and moved for summary judgment on any potentially

remaining claims in each of the four (4) actions.

           C. Class Counsel’s Investigation

       Class Counsel spent many hours investigating the claims of several potential

plaintiffs against Whirlpool. See Joint Declaration of Class Counsel. (“Joint Decl.”),

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attached as Exhibit 3, at ¶3-5. Class Counsel performed hours of research on Whirlpool, its

Dishwashers, the warranties, care and use manuals that pertained to the Dishwashers, and

consumer complaints. Additionally, numerous consumers were interviewed, and various

documents were collected to gather information about the Dishwashers, the alleged defect,

and Whirlpool’s actions regarding the alleged defect and its knowledge of the same. Id.

       Further, Class Counsel worked closely with multiple well-qualified engineering

experts who spent many hours investigating the Dishwashers, including, inter alia,

research of the product, specifications, industry standards, Diverter Shaft Seal

manufacturer’s installation instructions, and alternative feasible designs. Id. As part of their

investigation, the engineers collectively performed leakage testing and disassembly of the

sump assembly parts, which included the Diverter Shaft Seal. One engineer procured a

current dishwasher to determine if Whirlpool had altered the design and fixed the Defect.

The engineers also provided ongoing assistance to Class Counsel during litigation,

including formulation of discovery questions. Id.

        The foregoing information was essential to Class Counsel’s ability to identify the

Defect and analyze the nature of Whirlpool’s conduct and potential claims and remedies.

Id. Class Counsel expended significant resources researching and developing the legal

claims at issue. Id. Class Counsel is familiar with the claims as they have litigated and

resolved cases with similar factual and legal issues. Id. Class Counsel has experience in

understanding the remedies and damages at issue, as well as what information is critical in

determining class membership. Id. Class Counsel spent a significant amount of time

analyzing information regarding the alleged Defect. Id. at ¶3-5, 19, 32, 43-49.

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       Class Counsel entered the mediation fully informed of the merits of Settlement

Class Members’ claims and negotiated the proposed Settlement, without staying any

pending action and thus, while zealously advancing the position of Plaintiffs and

Settlement Class Members. Class Counsel had already provided dates for the inspection of

certain Plaintiffs’ Dishwashers and for their depositions, had begun scheduling depositions

of Whirlpool’s employees, noticed the deposition of the Diverter Shaft Seal manufacturer,

and were fully prepared to continue to litigate rather than accept a settlement that was not

in the best interest of Plaintiffs and the Settlement Class. Id. Atlanta based mediator, Hunter

R. Hughes, III, mediated the case over two days and stayed actively engaged in settlement

discussions following conclusion of the mediation in order to help the Parties reach an

acceptable compromise. Id. at ¶¶17, 18, 20.

       Prior to negotiating the Settlement, Class Counsel spent significant time

communicating with Plaintiffs, working with the expert consultants, investigating facts,

researching the law, preparing well-pleaded complaints and amended complaints, engaging

in discovery, briefing motions to dismiss, and reviewing important documents and data. Id.

at ¶¶4-5, 16, 19, 32. This resulted in the Settlement for which Preliminary Approval is

respectfully requested.

          D. Mediation and Subsequent Settlement Discussions

       As shown herein, the Parties’ settlement negotiations are the product of hard-fought,

arm’s-length negotiations, which took place over the course of approximately five (5)

months. Specifically, the Parties entered into preliminary settlement negotiations in March

of 2021. Prior to mediation, the Parties exchanged requests for information pursuant to

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Fed. R. Evid. 408 and the Plaintiffs’ made a detailed settlement demand. Joint Decl. at

¶¶15, 18, 48. The Parties also provided detailed mediation statements to Mr. Hughes, which

were exchanged among the parties on April 26, 2021. Id. at ¶18.

       Thereafter, the Parties attended two full-day mediation sessions (on April 27, 2021,

and April 29, 2021) with Mr. Hughes, a neutral mediator who has substantial experience

mediating class actions. While the Parties were able to make substantial progress toward

settlement of this Action pending against Whirlpool, the Parties were unable to fully

resolve this matter at the first day of mediation. Following the second day of mediation,

the Parties agreed to most of the material terms of the Settlement and exchanged a term

sheet. On July 29, 2021, the Parties reached full resolution of the terms of the Settlement

and continued their discussions of the finer details of the Settlement through October 2021.

Joint Decl. at ¶ 18-23. The Parties did not agree to attorneys’ fees and costs, or service

awards for Class Representatives during either mediation session, or prior to resolution of

the material terms of the Settlement, all of which was the subject of numerous follow-up

discussions among the Parties, with the assistance of Mr. Hughes. Id.

    III.   MATERIAL TERMS OF THE SETTLEMENT AGREEMENT

       The Settlement’s details are contained in the Agreement signed by the Parties, a

copy of which is attached as Exhibit 1. Below is a summary of the key terms of the

Settlement.4



4
  To the extent of any inconsistency between the description of the Settlement herein and
the terms of the Settlement Agreement, the express terms of the Settlement Agreement
shall control.
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         The Settlement Class is defined as follows:

            All persons in the United States and its territories who either (a)
            purchased a new Class Dishwasher5, or (b) acquired a new Class
            Dishwasher as part of the purchase or remodel of a home, or (c)
            received as a gift, from a donor meeting those requirements, a new
            Class Dishwasher not used by the donor or by anyone else after
            the donor purchased the Class Dishwasher and before the donor
            gave the Class Dishwasher to the Settlement Class Member.

         Excluded from the Settlement Class are (i) officers, directors, and employees of

Whirlpool or its parents, subsidiaries, or affiliates, (ii) insurers of Settlement Class

Members, (iii) subrogees or all entities claiming to be subrogated to the rights of a Class

Dishwasher purchaser, a Class Dishwasher owner, or a Settlement Class Member,

(iv) issuers or providers of extended warranties or service contracts for Class Dishwashers,

(v) persons who timely and validly exercise their right to be removed from the Settlement

class.

         Pursuant to the Settlement Agreement, for any Settlement Class Member who can

provide sufficient documentary proof that (1) within eight years after manufacture, the

Settlement Class Member’s Dishwasher experienced a Diverter Seal Leak, and (2) the

Settlement Class Member incurred out-of-pocket expenses for either (i) a Paid Qualifying

Repair, or (ii) a Paid Qualifying Replacement within six weeks of the Diverter Seal Leak,




5
 As defined in the Settlement Agreement, “Class Dishwashers” or “Dishwashers” means
Whirlpool-manufactured Amana, Ikea, Jenn-Air, Kenmore, KitchenAid, or Whirlpool-
branded dishwashers manufactured with a hydraulic rotation diverter system from January
1, 2010, through December 31, 2017, and bearing a model number and serial number
within the range on the list attached as Exhibit 2 to the Settlement Agreement.
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rather than a repair of their Dishwasher, Whirlpool will partially reimburse those out-of-

pocket expenses subject to the limitations set forth below.

       Settlement Class Members will have the ability to make a claim for either Past

Diverter Seal Leaks or Future Diverter Seal Leaks which occur within eight years of

manufacture of their Dishwasher. As defined in the Settlement Agreement, “Future

Diverter Seal Leak” is a Diverter Seal Leak that occurs on or after the Notice Date, and

“Past Diverter Seal Leak” means a Diverter Seal Leak that occurred prior to the Notice

Date6. Further, “Paid Qualifying Repair” means where a Settlement Class Member actually

paid some out-of-pocket cost for a repair of his or her Dishwasher that included the

replacement of either the diverter motor, sump, or sump assembly in response to a Diverter

Seal Leak. “Paid Qualifying Replacement” means where a Settlement Class Member

actually paid some out-of-pocket cost to replace, rather than repair, their Dishwasher in

response to a Diverter Seal Leak.

       The compensation structure is set forth below for Paid Qualifying Repairs or

Replacements for Past or Future Diverter Seal Leaks:

       i.     for Paid Qualifying Repairs or Replacements in year two (2) after

manufacture, 100% of the Average Cost of Repair ($225.00), or a cash rebate of $200 for

the purchase a new KitchenAid-brand dishwasher, or a cash rebate of $150 for the purchase

of a new Whirlpool-brand or Maytag-brand dishwasher;



6
 Settlement Class Members who have experienced a Past Diverter Seal Leak within eight
years after manufacture must submit a valid claim to the Settlement Administrator within
180 days of the Notice Date.
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      ii.    for Paid Qualifying Repairs or Replacements in year three (3) after

manufacture, 90% of the Average Cost of Repair ($202.50), or a cash rebate of $200 for

the purchase a new KitchenAid-brand dishwasher, or a cash rebate of $150 for the purchase

of a new Whirlpool-brand or Maytag-brand dishwasher;

      iii.   for Paid Qualifying Repairs or Replacements in years four (4) or five (5) after

manufacture, 80% of the Average Cost of Repair ($180.00), or a cash rebate of $200 for

the purchase a new KitchenAid-brand dishwasher, or a cash rebate of $150 for the purchase

of a new Whirlpool-brand, or Maytag-brand dishwasher;

      iv.    for Paid Qualifying Repairs or Replacements in year six (6) after

manufacture, 60% of the Average Cost of Repair ($135), or a cash rebate of $175 for the

purchase a new KitchenAid-brand dishwasher, or a cash rebate of $125 for the purchase of

a new Whirlpool-brand, or Maytag-brand dishwasher;

      v.     for Paid Qualifying Repairs or Replacements in year seven (7) after

manufacture, 30% of the Average Cost of Repair (67.50), or a cash rebate of $100 for the

purchase of a new KitchenAid-brand, Whirlpool-brand, or Maytag-brand dishwasher; or

      vi.    for Paid Qualifying Repairs or Replacements in year eight (8) after

manufacture, a cash rebate of $100 for the purchase of a new KitchenAid-brand,

Whirlpool-brand, or Maytag-brand dishwasher.

      Settlement Class Members who have experienced a Past Diverter Seal Leak within

eight years after manufacture, and who submit a valid claim to the Settlement

Administrator within 180 days of the Notice Date, will be entitled to reimbursement for a

Paid Qualifying Repair or Replacement based on the above schedule. Settlement Class

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Members who experience a Future Diverter Seal Leak, which is a leak that occurs after the

Notice Date, but within eight years of manufacture of their Dishwasher, and who submit a

valid claim to the Settlement Administrator within 180 days of the Notice Date, will be

entitled to reimbursement for a Paid Qualifying Repair or Replacement based on the above

schedule.

   IV.      LEGAL STANDARD

         “Court approval of a class action settlement is within the sound discretion of the

district court.” Phillips v. Caliber Home Loans, Inc., No. 19-cv-2711 (WMW/LIB), 2021

WL 3030648, at *5 (D. Minn. July 19, 2021). The procedure for approval of a class action

settlement occurs in two stages. In the first stage, "before scheduling the fairness hearing,

the court makes preliminary determinations with respect to the fairness of the settlement

terms, approves the means of notice to class members, and sets the date for that final

hearing." Id., (quoting Schoenbaum v. E.I. Dupont De Nemours & Co., No. 4:05CV01108,

2009 WL 4782082, at *2 (E.D. Mo. Dec. 8, 2009)); See also Liles v. Del Campo, 350 F.3d

742 (8th Cir. 2003). "Because class members will subsequently receive notice and have an

opportunity to be heard on the settlement, [a] Court need not review the settlement in detail

at [the preliminary approval stage]; instead, preliminary approval is appropriate so long as

the proposed settlement falls within the range of possible judicial approval." Phillips, 2021

WL 3030648, at *5 (quoting In re M.L. Stern Overtime Litig., No. 07-CV-0118, 2009 WL

995864, at *3 (S.D. Cal. April 13, 2009) (internal quotation marks omitted)); Id (quoting

Martin v. Cargill, Inc., 295 F.R.D. 380, 383 (D. Minn. 2013) ("At the preliminary-

approval stage, the fair, reasonable, and adequate standard is lowered, with emphasis only

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on whether the settlement is within the range of possible approval due to an absence of any

glaring substantive or procedural deficiencies.") (internal quotation marks omitted).

       To grant preliminary approval, the district court must conclude that the proposed

Settlement is "within the range of possible approval" and "does not disclose grounds to

doubt its fairness." Phillips, 2021 WL 3030648, at *6, citing Manual for Complex

Litigation § 30.41, at 237 (3d ed. 1975). This finding "is at most a determination that there

is what might be termed 'probable cause' to submit the proposal to class members and hold

a full-scale hearing as to its fairness." Phillips, 2021 WL 3030648, at *6 (quoting In re

Traffic Executive Assoc.--Eastern Railroads, 627 F.2d 631, 634 (2d Cir. 1980); See also In

re Zurn Pex Plumbing Prods. Liab. Litig., No. 08-MDL-1958 ADM/AJB, 2012 WL

5055810, at *5 (D. Minn. Oct. 18, 2012).

       In addition, the parties must also show that the Court “will likely be able to ... certify

the class for purposes of judgment on the proposal,” pursuant to Fed. R. Civ. P.

23(e)(1)(B)(ii), and meet the requirements of Federal Rules of Civil Procedure 23(a) and

(b). Further, in the class action context, in the Eighth Circuit, “[a] settlement agreement is

‘presumptively valid.’” In re Uponor, 716 F.3d at 1063 (quoting Little Rock Sch. Dist. v.

Pulaski Cnty. Special Sch. Dist. No. 1, 921 F.2d 1371, 1391 (8th Cir.1990)). The court's

role in reviewing a negotiated class settlement is to “to ensure that the agreement is not the

product of fraud or collusion and that, taken as a whole, it is fair, adequate, and reasonable

to all concerned.” Id.

II.    THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY

       APPROVAL.

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   “In the class action context in particular, there is an overriding public interest in favor

of settlement.” Yarrington v. Solvay Pharms., Inc., No. 09-CV-2261 (RHK/RLE), 2010

WL 11453553, at *6 (D. Minn. Mar. 16, 2010) (internal quotations and citation omitted).

Applying the established standards noted above, preliminary approval should be granted

because the proposed Settlement and the proposed form and program of providing notice

satisfy the requirements for preliminary approval in all respects. See Schoenbaum, 2009

WL 4782082, at *3 (“a proposed settlement is presumptively reasonable at the preliminary

approval stage, and there is an accordingly heavy burden of demonstrating otherwise.”).

          A. The Proposed Settlement is Fair, Reasonable and Adequate and the
             Settlement Falls Within the Range of Reasonableness for Possible
             Approval.

       Here, a preliminary review of the Settlement reveals the fairness, reasonableness,

and adequacy of its terms. The Settlement Class will receive substantial extended service

plan benefits, which allows Settlement Class Members to make a claim for the alleged

Defect for seven-years beyond the one-year warranty accompanying the purchase of a

Dishwasher. With the extended service plan benefits, Settlement Class Members will be

entitled to reimbursement of out-of-pocket costs in an amount up to the average cost of

repair of the Defect of $225.00, as described in Section III above, which details the tiered

relief offered to Settlement Class Members depending on the age of their Dishwasher.

Further, as described in Section III above, consumers have the option to choose between

this cash reimbursement or a cash rebate of up to $200.00 for the purchase of a new

KitchenAid-brand dishwasher, or a cash rebate of up to $150 for the purchase of a new



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Whirlpool-brand or Maytag-brand dishwasher, again depending upon the age of the

Dishwasher at the time of the repair or replacement.

       As detailed in the Expert Report of Frank Bernatowicz, attached hereto as Exhibit

2, the value of the proposed settlement is approximately $15.71 to $21.33 million. This

falls well within the range of a reasonable settlement. See Fath v. American Honda Motor

Co., 2019 WL 6799796, at *5 (D. Minn. 2019) (preliminarily approving class action

settlement in action involving alleged automobile defect, where Honda extended the

limited vehicle warranty an additional year, providing for the reimbursement of certain

towing expenses, oil change costs and diagnostic costs, and a software update); Lipuma v.

Am. Express Co. 406 F. Supp. 2d 1298, 1323 (S.D. Fla. 2005) (in evaluating a class

settlement, “the Court’s role is not to engage in a claim-by-claim, dollar-by-dollar

evaluation, but rather, to evaluate the proposed settlement in its totality.”)

       Although Class Counsel are confident in the merits of Plaintiffs’ claims, the

certification of a consumer class action is challenging and strongly contested throughout

the country and specifically within the Eighth Circuit. Here, continued litigation involved

serious risks. While Plaintiffs prevailed on many important issues in their motions to

dismiss, with continued litigation, Whirlpool undoubtedly would challenge Plaintiffs’

liability and damages experts, contest class certification and move for summary judgment

on any potentially remaining claims in each of the four (4) actions. Id. Indeed, Whirlpool

disclosed data in discovery that showed (a) varying rates of repair over time and within

subpopulations of the Class Dishwashers, and (b) a decreasing rate of repairs that coincided

with Whirlpool’s introduction of updates to the diverter system, which Whirlpool would

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have argued defeated commonality and predominance. When balanced against the risks of

litigation, this Settlement is a significant achievement for the Class, which provides

Settlement Class Members with substantial costs for parts and labor, up to the average cost

of repair of $225.00, and also provides immediate benefits to the class. See Phillips. 2021

WL 3030648, at *6 (“Although litigation presents serious risks at many stages, as well as

substantial expense and delay without any guarantee of additional benefit to the Settlement

Class, the Settlement provides immediate and substantial benefits to more than one million

Settlement Class Members.”)

      As described above, according to Plaintiffs’ expert analysis of Whirlpool’s warranty

documentation and independent research of the cost of extended warranties for

dishwashers, the value of the extended service plan benefits to the Settlement Class is

approximately $15.71 to $21.33 million, including an analysis of the extended service plan

benefits to the class and the out-of-pocket reimbursement benefits. See Exhibit 2, Expert

Report from Frank Bernatowicz.

      In particular, as noted by Mr. Bernatowicz, “all Settlement Class Members will

receive extended service plan benefits for the Class Dishwashers for an additional seven

(7) years from the expiration of the original manufacturer’s warranty relating to a “Diverter

Seal Leak,” which is defined in the Settlement Agreement as a water leak that originated

at the location of the diverter motor shaft and diverter seal found in the sump assembly

parts listed in Exhibit 3 to the Settlement Agreement.” Ex. 2, Bernatowicz Dec. at ¶12.

“Prior to the subject Settlement, if a consumer experienced a Diverter Seal Leak beyond

this one-year warranty, Whirlpool did not cover the costs of parts or labor under the

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Dishwasher warranty. As a result of the Settlement, Whirlpool has agreed to cover Past

Diverter Seal Leaks and Future Diverter Seal Leaks for an additional seven (7) years from

the expiration of the original manufacturer’s warranty, or within eight years of manufacture

of the Dishwasher.” Id. at ¶13.

      For purposes of his warranty valuation analysis specific to this litigation, Mr.

Bernatowicz’s calculation was based on following evaluation: (1) every Settlement Class

member receives an extension of warranty benefit under the proposed settlement,

excluding those who have previously received compensation under the original one-year

warranty or otherwise; and (2) the number of Class Dishwashers units with a Remaining

Warranty Life as of the Notice Date is estimated to be 5,230,1987. Id. at ¶¶14-15. For those

Settlement Class Member who have a Remaining Warranty Life after the Notice Date, as

detailed in his declaration, Mr. Bernatowicz calculated the value of the warranty benefits

coverage as $13,831.171. Id. at ¶¶12-21.

      Based on sales and warranty data provided by Whirlpool during discovery, Mr.

Bernatowicz also calculated the out-of-pocket cost benefit to the Settlement Class, using



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  As discussed above, and in the Settlement Agreement, the Settlement Class period runs
from January 1, 2010 through December 31, 2017. Thus, as of the Claims Deadline (180
days after the Notice Date, as defined in the Settlement Agreement, or April 2014, as
estimated by the Parties), Whirlpool’s sales data revealed that the number of Settlement
Class Members whose extended eight year warranty will have expired by the Claim
Deadline is approximately 1,500,000 Settlement Class Members. Those class members
are eligible for identical benefits to those whose Dishwasher warranties will not have
expired by the Claim Deadline, but they must make a claim by that deadline in order to be
eligible for benefits. The remaining number of Settlement Class Members whose warranty
benefits will not expire by the claim deadline, and who will have a Remaining Warranty
Life, is approximately 5,230,198.
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(1) the number of Class Dishwasher units subject to the Settlement, based on the tiered

reimbursements; (2) a reasonable estimate of the diverter system repair cost of $225; (3)

and a reasonable estimate for diverter system failure percent represented by Whirlpool to

be in the range of 1% to 4%, which includes all sump assembly repairs, including diverter

system repairs. On this basis, Mr. Bernatowicz opined that the total out-of-pocket

reimbursement benefit amounted to a range of $1,8754.157 (based on a 1% failure rate) to

$7,496,629 (based on a 4% failure rate). Id. at ¶27.

       Thus, based on the aforementioned benefits illustrated above, the range of Total

Benefits (#1 and #2) for the Settlement Class amounts to $15.71 to $21.33 million. Id. at

¶28.

       This is a substantial benefit to the class, particularly considering that continued

litigation likely would take several years to resolve and involve expensive discovery,

Phillips, 2021 WL 3030648, at *6, citing Holden v. Burlington N., Inc., 665 F. Supp. 1398,

1414 (D. Minn. 1987) (observing that “many of the immediate and tangible benefits” of

settlement would be lost through continued litigation, making the proposed settlement “an

attractive resolution” of the case). “This is especially true when, as here, the defendant

vigorously denies the Plaintiffs’ allegations.” Phillips, 2021 WL 3030648, at *6.

       Here, given the risks associated with continued litigation, the benefits of the

Settlement Agreement are substantial. Further, regardless of the option they choose,

Settlement Class Members will be able to receive the remuneration described above by

submitting a simple Claim Form. The Settlement thus directly addresses the claimed harm.



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          B. The Settlement Was the Result of Arm’s Length Negotiations Between
             the Parties, Has No Obvious Deficiencies, and Treats Settlement Class
             Members Equally.

       Where a settlement is negotiated at arm’s length between experienced class counsel,

it is afforded the presumption that it falls within the range of reasonableness for possible

approval. Phillips, 2021 WL 3030648, at *6 (“Based on the vigorous litigation of the

issues, the exchange of informal discovery, and the rigorous negotiations described in

Plaintiffs’ submission, it appears to the Court that the Settlement was negotiated at arms’

length and under circumstances demonstrating a lack of collusion.”). Further, settlement of

this action will conserve judicial resources and well as resources of the Parties, who have

vigorously litigated this action, reviewed substantive discovery and retained

knowledgeable and qualified experts, all allowing the Parties to “intelligently evaluate the

Settlement offered against the risks and benefits of continued litigation.” Id.

       This Settlement is the product of fact intensive investigation regarding the Defect,

hard-fought litigation and arm’s-length negotiations, along with substantive motion

practice and litigation, which included the retention of knowledgeable and qualified experts

who performed critical analyses regarding the alleged defect and damages at various stages

of litigation, including assisting with discovery; adjudication of Whirlpool’s motion to

dismiss in the present action, and also in associated litigation in the United States District

Court for the Northern District of Illinois; briefing Whirlpool’s motion to dismiss in

associated litigation in the United States District Court for the Eastern District of

Pennsylvania; negotiating a protective order, order governing electronically stored

information, and other case management orders involving coordination of litigation and

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schedules across all scheduling; attending regular case management conferences with

Magistrate Judge Menendez in this litigation and judges in the Northern District of Illinois;

fact discovery, which included serving and responding to interrogatories, requests for

production, supplemental interrogatories, third-party retailer discovery, review of

substantial documents; two-full day mediation sessions (on April 27, 2021 and April 29,

2021), and subsequent months of arm’s-length negotiations between experienced class-

action counsel for both Whirlpool and Plaintiffs, all led by a mediator with substantial

experience in class action litigation. Thus, Plaintiffs’ Counsel had ample information

before entering into settlement negotiations, and they were able to effectively assess the

strengths and weaknesses of Plaintiffs’ case and balance the benefits of settlement against

the risks of further litigation.

       In addition, there are no obvious deficiencies in the Settlement Agreement. See

Risch v. Natoli Eng’g Co., LLC, No. 4:11CV1621 AGF, 2012 WL 4357953, at *3 (E.D.

Mo. Sept. 24, 2012) (finding no obvious deficiencies in settlement agreement that was fair,

adequate, and reasonable). Here, the Settlement clearly meets the critical test of gauging

its fairness and reasonableness because it provides significant, concrete relief to Settlement

Class Members and directly remedies the injury alleged in the action. The gravamen of

Plaintiffs’ Complaint is that Plaintiffs and Settlement Class Members purchased

Dishwashers which had a defect that can and has caused certain Dishwashers to leak,

requiring consumers to assume the cost of repair. Accordingly, the proposed Settlement

provides the exact relief to consumers that this action was filed to achieve – benefits specific

to the alleged Defect, allowing consumers to claim up to $225.00 for the cost of repairing

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or replacing their Dishwasher as a result of the alleged Defect. Further, regardless of the

option they choose, Settlement Class Members will be able to receive the remuneration

described above by submitting a simple Claim Form. The Settlement thus directly

addresses the claimed harm.

      Further, there is no unfair or preferential treatment of any Settlement Class Member.

See Corona v. United Bank Card, Inc., No. 8:12CV89, 2015 WL 13849231, at *2 (D. Neb.

Aug. 26, 2015) (granting preliminary approval after initial evaluation showed, inter alia,

there was no improperly preferential treatment to Plaintiff or Settlement Class Members).

Each Settlement Class Member is entitled to make a claim for a Paid Qualifying Repair or

a Paid Qualifying Reimbursement under the extended period of eight years following their

purchase of the Dishwasher.

      In sum, the Settlement was achieved following substantial investigation and

litigation, and hard-fought, arm’s-length negotiations conducted by informed counsel,

contains no obvious deficiencies, and treats Settlement Class Members equally.

Accordingly, there are no grounds to doubt the Settlement’s fairness.

          C. Notice and Administration

       All notice, publication and claims administration activities shall be carried out

exclusively by the Settlement Administrator, including the evaluation of documentary

proof submitted by Settlement Class Members. Whirlpool has agreed to pay for reasonable

Administration and Notice expenses.

                   1.    The Proposed Notice Provides Adequate Notice to The Class
                         and Satisfies Due Process.


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       Due process under Rule 23 requires that class members receive notice of the

settlement and an opportunity to be heard and participate in the litigation. Fed. R. Civ. P.

23(c)(2)(B); See Phillips, 2021 WL 3030648, at *5; Phillips Petroleum Co. v. Shutts, 472

U.S. 797, 812 (1985); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 175–76

(1974) (“[I]ndividual notice must be provided to those class members who are identifiable

through reasonable effort.”). “The mechanics of the notice process are left to the discretion

of the district court, subject only to the broad “reasonableness” standards imposed by due

process.” Phillips, 2021 WL 3030648, at *7; See also Tapia v. Zale Del. Inc., No.

13cv1565-PCL, 2017 WL 1399987, at *4 (S.D. Cal. April 18, 2017); Rosenburg v. I.B.M.,

No. CV06–00430PJH, 2007 WL 128232, *5 (N.D. Cal. Jan. 11, 2007) (providing that

notice should inform class members of essential terms of settlement, including claims

procedures and the right to accept, object or opt-out of settlement).

       Here, the Settlement Agreement requires the parties to notify Settlement Class

Members of the Settlement by (a) emailing the notice to all members of the Settlement

Class for whom valid email addresses are known to Whirlpool, (b) mailing, by first class

US mail, Postcard Notice to all Settlement Class Members for whom Whirlpool only has

a physical mailing address, and (c) mailing, by first-class US mail, the Long Form Notice

to those Settlement Class Members requesting a copy thereof. The Settlement

Administrator will also utilize a reverse look-up service to obtain additional email

addresses and email the Summary Notice to all members of the Settlement Class for whom

an email can be identified through the reverse look-up service. The Settlement



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Administrator will also perform a national change of address search and forward notice

packages that are returned by the U.S. Postal Service with a forwarding address.

       In addition, the Settlement Administrator will create a Settlement Website that will

include all necessary and pertinent information for Settlement Class Members, including

the (1) Long Form Notice in downloadable PDF format in both English and Spanish; (2) a

claim form allowing Settlement Class members to submit claims online, including

uploading any necessary documentation, (3) a contact information page with contact

information for the Settlement Administrator, and addresses and telephone numbers for

Class Counsel and Defendant’s Counsel, (4) the Settlement Agreement, (5) the signed

Preliminary Approval Order and publicly filed motion papers and declarations in support

thereof, (6) the Consolidated Amended Complaint, (7) upon filing, the Fee and Service

Award Application, the motion for entry of the Final Approval Order, and any motion

papers and declarations filed publicly in support thereof, and (8) relevant deadlines,

including deadlines to opt-out or object to the settlement agreement.

       Among other items, the Class Notice will include the following information: (1) a

plain and concise description of the Action and the proposed Settlement, (2) the right of

Settlement Class Members to request exclusion from the Settlement Class or to object to

the Settlement, (3) specifics on the date, time and place of the Final Approval Hearing, and

(4) information regarding Class Counsel’s anticipated fee application and the anticipated

request for the Class Representatives’ service award.

       The Notice Plan will include notices substantially in the form of Exhibit 4-6 to the

Settlement Agreement. Prior to the dissemination of the Class Notice, the Settlement

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Administrator also shall establish a toll-free telephone number, through which Class

Members may obtain information about the Litigation, obtain answers to frequently asked

questions, and request a mailed copy of the Long Form version of the Class Notice and

Claim Form, pursuant to the terms and conditions of the Settlement Agreement. Agreement

at ¶ IV.4.7.

       Thus, the Notice program provides the necessary information for Settlement Class

Members to make an informed decision regarding the proposed Settlement. Accordingly,

the form and manner of notice proposed here fulfills all of the requirements of Rule 23 and

due process.

                    2.      Settlement Administration

       The Settlement Administrator shall process all claims made by Settlement Class

Members who experienced a Diverter Seal Leak before or after the Notice Date, including

the evaluation of the documentary proof submitted by such Settlement Class Members to

substantiate a Qualifying Repair or Qualifying Replacement subject to relief as set forth in

this Agreement.

III.   THE SETTLEMENT CLASS SHOULD BE CONDITIONALLY

       CERTIFIED.

           A. The Rule 23(a) Requirements are Satisfied

       As set forth more fully below, it is Plaintiffs’ position that each of the Rule 23(a)

prerequisites is satisfied with respect to the proposed Class.

               1.    The Settlement Class is so numerous that joinder is
                     impracticable.


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      “Generally, a putative class size of forty or more will support a finding of

numerosity, although smaller classes have been found acceptable in this circuit.” Hoekman

v. Educ. Minn., 335 F.R.D. 219, 242 (D. Minn. 2020). Here, Plaintiffs have determined,

based on Defendant’s review of its internal records, that there are more than 6,700,000

class dishwashers. Moreover, as this is a nationwide settlement, the Settlement Class

Members are geographically dispersed making joinder impracticable. Thus, the Settlement

Class readily satisfies the numerosity requirement.

             2.     There are questions of law and fact common to the Settlement
                    Class.

      The second prerequisite to class certification is that “there are questions of law or

fact common to the class.” Rule 23(a)(2) (emphasis added). “As a general rule,

the commonality requirement imposes a very light burden on a plaintiff seeking to certify

a class and is easily satisfied.” Hartley v. Suburban Radiologic Consultants, Ltd., 295

F.R.D. 357, 376 *D. Minn. 2013) (citation omitted). Indeed, “even a single common

question will do.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (citation

omitted).

      In this case, the questions of law or fact common to the Class include, inter alia, the

following:

      (a)    whether the Class Dishwashers suffer from a uniform design or

      manufacturing Defect that causes them to leak;

      (b)    whether Whirlpool had a duty to disclose the alleged Defect to consumers;




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       (c)    Whether Whirlpool’s warranty limitations on Settlement class Dishwashers

       were unconscionable or otherwise unenforceable;

       (d)    whether the alleged Defect in the Class Dishwashers is material to a

       reasonable consumer;

       (e)    whether, as a result of Whirlpool’s concealment or failure to disclose

       material facts, Plaintiffs and Class Members acted to their detriment by purchasing

       Class Dishwashers manufactured by Whirlpool;

       (f)    whether Whirlpool was aware of the Defect;

       (g)    whether Whirlpool breached express warranties with respect to the Class

       Dishwashers;

       (h)    whether Whirlpool has a duty to disclose the defective nature of the Class

       Dishwashers to Plaintiffs and Class Members; and

       (i)    whether Plaintiffs and Class Members are entitled to equitable relief.

       Consequently, there are fundamental, common issues of law and fact and, in this

case, a “classwide proceeding [will] generate common answers apt to drive the resolution

of the litigation.” Dukes, 564 U.S. at 350 (2011) (emphasis in original). See Fath, 2019

WL 6799796, at *5 (finding requirement of commonality satisfied “as the resolution of

various common questions of law and fact—such as whether the Class Vehicles are

predisposed to exhibit oil dilution and subsequent costly wear and tear to their engines—

would potentially resolve issues central to the claims asserted in the FAC.”).

              3. Plaintiffs’ claims are typical of the claims of the Settlement Class.



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       The third prerequisite for class certification is “typicality” set forth in Rule 23(a)(3),

which provides that a class action can be maintained only if “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” Fed.R.Civ.P.

23(a)(3). “Typicality is fairly easily met so long as other class members have claims similar

to the named plaintiff.” Custom Hair Designs by Sandy v. Central Payment co., LLC. 984

F.3d 595, 604 (8th Cir. 2020) (quoting Postawko v. Missouri Dep't of Corr., 910 F.3d 1030,

1039 (8th Cir. 2018)). “Factual variations in the individual claims will not normally

preclude class certification if the claim arises from the same event or course of conduct as

the class claims, and gives rise to the same legal or remedial theory.” Id.

       Here, Plaintiffs contend that their claims arise from the same common alleged

Defect in the Dishwashers, and from the same legal theories as the Settlement Class

Members’ claims. Although Plaintiffs may own a different model of the Dishwasher than

other Settlement Class Members, Plaintiffs contend that all of the Dishwasher models

contain an identical defect. Thus, Plaintiffs seek redress—on behalf of the Settlement Class

Members—for alleged damages arising out of a similar alleged Defect, and Plaintiffs and

Settlement Class Members have an identical interest in recovering their alleged losses

sustained as a result of the same course of conduct. See Fath, 2019 WL 6799796, at *5 (in

action involving alleged automobile defect, finding typicality requirement satisfied where

“it appears that the claims of the other members of the proposed settlement class are similar

to those of Named Plaintiffs.”).

              4. Plaintiffs will fairly and adequately represent the Settlement Class.



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       The fourth and final prerequisite under Rule 23(a) is the “adequacy of

representation” requirement contained in Rule 23(a)(4). The inquiry under Rule 23(a)(4)

has two components: (1) the Class Representatives must not have interests that conflict

with other class members, and (2) will vigorously prosecute the interests of the other class

members through qualified counsel. Fath, 2019 WL 6799796, at *5; See also Swinton v.

SquareTrade, Inc., No. 18-CV-144 (SMR/SBJ), 2019 WL 617791, at *5 (S.D. Iowa Feb.

14, 2019) (finding representation adequate where named plaintiffs “share the same

objectives, and their claims arise from the same general factual position” as other class

members and where named plaintiffs were represented by experienced and accomplished

litigators who had negotiated an adequate settlement); Phillips, 2021 WL 3030648, at * 7

(finding adequacy requirement satisfied where “Class Counsel [we]re experienced and

sophisticated, with years of experience in complex class action litigation…[and] [t]he Class

Representatives… supervised the litigation by reviewing pleadings, reviewing the

Settlement and communicating with Class Counsel regarding the litigation.”).

       Here, the proposed Class Representatives purchased Dishwashers containing the

alleged Defect and thus allegedly suffered injury or loss. The proposed Class

Representatives seek to maximize the recovery to the Settlement Class through this

litigation. None of the proposed Class Representatives have any interest that is antagonistic

to the claims of any Settlement Class Member. The proposed Class Representatives’

interests are aligned with the interests of Settlement Class Members. Moreover, proposed

Class Representatives have vigorously prosecuted the actions in the interests of the

Settlement Class.      Proposed Class Representatives understand their duties as

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representatives of the Settlement Class and will dutifully execute their responsibilities.

Their active participation is strong evidence that Plaintiffs are adequate representatives of

the Settlement Class.

       Likewise, Class Counsel have vigorously represented the proposed Class

Representatives and putative Settlement Class Members in this Action. They represent that

they will continue to do so and have submitted evidence showing that they are qualified,

experienced, and generally able to conduct the litigation as detailed herein. See Joint Decl.,

at Ex. A (Firm resume of Class Counsel).

          B. The Requirements of Rule 23(b)(3) are Satisfied

       Before certifying a class under Rule 23(b)(3), a district court must find ‘that the

questions of law or fact common to class members predominate over any questions

affecting only individual members, and that a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.’ Fath, 2019 WL 6799796,

at *5 (quoting Stuart v. State Farm Fire & Cas. Co., 910 F.3d 371, 374 (8th Cir. 2018));

See also Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 591-594 (1997). In the settlement

context, the district court “need not inquire whether the case, if tried, would present

intractable management problems.” Fath, 2019 WL 6799796, at *5 (quoting Amchem, 521

U.S. at 620). The predominance and superiority elements are both met here.

                  1. Common Questions of Law and Fact Predominate

       “The ‘predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.’” Stuart, 910 F.3d at 374–

75 (quoting Amchem, 521 U.S. at 623). It is not necessary to illustrate that all questions of

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fact or law are common. See Sacred Heart Health Sys., Inc. v. Humana Military Healthcare

Servs., Inc., 601 F.3d 1159, 1178 (11th Cir. 2010). Further, in the settlement context, “the

predominance inquiry will sometimes be easier to satisfy” because settlement eliminates

manageability problems related to trial. In re Am. Int’l Grp., Inc. Sec.Litig., 689 F.3d 229,

240 (2d Cir. 2012).

       Here, Plaintiffs contend that they satisfy the predominance requirement because

liability questions common to all Settlement Class Members substantially outweigh any

possible issues that are individual to each Settlement Class Member. The salient evidence

necessary to establish Plaintiffs’ claims are common to all the Class Representatives and

all members of the Settlement Class – Plaintiffs have alleged that the manufacture and

design of the Dishwashers, the alleged Defect, and Whirlpool’s knowledge of the alleged

Defect and its effects are all subject to common proof. The evidentiary presentation

changes little whether there are 100 Settlement Class Members or as many as 6,700,000

Settlement Class Members. In either instance, Plaintiffs would present the same evidence

of Whirlpool’s marketing and warranties, and the same evidence of the Dishwasher’s

alleged Defect. See Fath, 2019 WL 6799796, at *5. To be sure, Plaintiffs faced risks in

establishing predominance where Whirlpool was laying the groundwork to vigorously

contest the issues of injury, causation, and damages, and this Settlement is a fair

compromise balanced against those risks.

                   2.       Class Treatment of Plaintiffs’ Claims is Superior

       “The superiority requirement asks whether the class action is the best available

method for resolving the controversy.” Fath, 2019 WL 6799796, at *5 (finding superiority

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requirement satisfied where “the values of the individual proposed settlement class

members’ claims are so small that there is minimal incentive for any individual member of

the proposed settlement class to pursue her claim in federal court.”) (quoting Cullan &

Cullan LLC v. M-Qube, Inc., No. 8:13CV172, 2016 WL 5394684, at *6 (D. Neb. Sept. 27,

2016)). See also Custom Hair Designs by Sandy, 984 F.3d at 605 (finding superiority

requirement satisfied, stating “Plaintiffs’ individual claims are for tens or hundreds of

dollars. Absent a class action, no plaintiff is likely to pursue their claim individually.”).

       Plaintiffs contend that a class action is the superior method for adjudicating

Plaintiffs’ and Settlement Class Members’ claims. Here, individual Settlement Class

Members have little incentive to control the prosecution of separate individual actions

because the time and expense associated with such litigation would easily exceed the

potential individual recovery. And, as the Supreme Court explained in Amchem, “[t]he

policy at the very core of the class action mechanism is to overcome the problem that small

recoveries do not provide the incentive for any individual to bring a solo action prosecuting

his or her rights.” Amchem Prods., 521 U.S. at 617. The potential recovery on the economic

damage claims sought to be certified in this action—the cost of repair or replacement—is

too small to warrant individuals taking on the cost and burden of litigating individual

lawsuits against these large corporate defendants.

       Moreover, no putative Settlement Class Members have expressed an interest in

prosecuting their actions separately, no other litigation regarding Plaintiffs’ claims have

been initiated, and efficiency weighs in favor of resolving the claims of all Settlement Class

Members in this forum. Fed. R. Civ. P. 23(b)(3)(A)-(C). The proposed Settlement Class

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therefore meets the requirements of Rule 23(b)(3) and should be conditionally certified for

purposes of settlement only.

          C. Class Counsel’s Applications for (i) Attorneys’ Fees and Costs and (ii)
             Service Awards.

       Class Counsel has not been paid for their extensive efforts or reimbursed for

litigation costs and expenses incurred. The Parties negotiated and agreed upon attorneys’

fees and costs only after agreeing on all other material terms of the Settlement. Whirlpool

has agreed to pay an attorney fee and expense award of one and one-half million dollars

($1,500,000.00), subject to approval by the Court. Such award will serve to compensate

for the time, risk and expense Plaintiffs’ counsel incurred pursuing claims on behalf of

Settlement Class Members. This amount represents approximately only 7% to 9.5% of the

$15.71 to $21.33 million value of the Settlement as estimated by Mr. Bernatowicz.

However, Class Counsel is not seeking an award of attorneys’ fees at this time and will file

a motion and supporting memoranda prior to the Final Approval Hearing. Class Counsel

have agreed not to seek an award of more than the above amount in the aggregate for

attorneys’ fees and expenses. Whirlpool’s payment of fees and costs to Class Counsel is

entirely separate and apart from the benefits provided to the Settlement Class and will have

no impact on the recovery received by Settlement Class Members. Further, the

effectiveness of the Settlement and the releases are not contingent on the Court’s approval

of the Fee and Expense Award, nor is it determined by the amount of the Fee and Expense

Award approved by the Court.

IV.    CONCLUSION


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         For the foregoing reasons, Plaintiffs respectfully request that the Court grant the

Motion for Preliminary Approval of the Settlement and for certification of the proposed

Settlement Class for settlement purposes only and enter the proposed Preliminary Approval

Order.


Dated: October 29, 2021                    /s/ Harper T. Segui
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                           CERTIFICATE OF SERVICE

      This is to certify that I have this day served the foregoing was served upon all

counsel of record via this Court’s CM/ECF system.

      This 29th day of October, 2021.         Respectfully submitted,


                                              /s/ Harper T. Segui
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